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               Exhibit 19ZZC
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                                   What BP’s Experts Want
                 Summary of Declarations Submitted by BP in Support of
                 BP’s February 3, 2013 Draft Motion for Reconsideration


Professional Services Claimants     (Mr. Oustalniol)

   1. Do not allow use of financial statements prepared under a non-accrual basis of
      accounting.

       [Settlement Agreement requires claimants to submit contemporaneous financial records
       and does not require accrual accounting.]

   2. Require financial data to be analyzed to match revenue with corresponding expenses.

       [Claims Administrator to use objective test not a subjective analysis.]

   3. Financial statements need to be evaluated in order to synchronize the revenues earned
      with the corresponding expenses.

       [BP Told Court and Class Counsel no analysis required.]

   4. Historical financial performance in the relevant time periods must be assessed.

       [BP Told Court and Class Counsel no subjective assessment or additional documentation
       required.]

   5. Require claimant to supply all available additional contemporaneous information that
      would allow the Claims Administrator to match revenues and expenses.

       [Not required documentation agreed to.]


Construction Claims   (Mr. Hall)

   1. Require all bid sheets and cost estimates for each project.

       [Not required documentation agreed to.]

   2. Allow use of only annual or year-end P&L statements.

       [Settlement specifically requires submission and use of contemporaneous monthly P&L
       statements.]
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   3. Use only annual Variable Profit Margin.

       [Would render meaningless entire Compensation Framework in Settlement Agreement.]


Agricultural Claims   (Mr. Finch)

   1. Must inquire into claimants’ business practice to determine the use of grain elevator
      storage, crop management practices and study market for crop.

       [Pure subjective individual adversarial investigation requiring documents not required.]

   2. Do not allow use of case-based financial statements. They are deemed to be inaccurate
      and inappropriate for loss calculations although they comply with all IRS regulations.

       [Settlement Agreement requires use of claimants’ contemporaneous monthly P&L’s and
       Federal Tax Returns.]

   3. Cannot use financial statements – must require further reviewing of underlying data.

       [Settlement Agreement requires use of financial statements with no subjective review of
       underlying data.]

   4. Claims Administrator will have to determine the months in Benchmark Year(s) that have
      “comparable economic activity.” There will have to be some analysis performed.

       [Settlement Agreement does not give Claims Administrator that authority. Claimant
       selects the months. No documentation is required that would be needed for such a
       subjective evaluation. Claimants were told there would be no “hidden” subjective
       analysis.]

   5. Shift the burden of proving “comparable economic activity.”

       [Adversarial process is created out of a settlement.]

   6. Confirms that a supplemental review would be required for the vast majority of the
      agricultural claims.

       [Documentation not required, Claims Administrator not authorized; subjective process;
       everything but simple, straightforward, transparent process.]
